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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION

 UNITED STATES OF AMERICA,                )             CR. 09-50029-01
                                          )
            Plaintiff,                    )
                                          )           ORDER DENYING
    vs.                                   )         DEFENDANT’S SECOND
                                          )        MOTION FOR SEVERANCE
 BEN STOCKMAN,                            )
                                          )
            Defendant.                    )

                                  INTRODUCTION

          Defendant Ben Stockman moved this court to sever the three charges

 against him from those against his two co-defendants, and to sever the trial of

 the three charges he is facing in the indictment from the trial(s) of his two co-

 defendants. See Docket No. 144. The government resists the motion. See

 Docket No. 158. This motion was referred for decision to this magistrate judge

 by the Chief District Court Judge, the Honorable Karen E. Schreier pursuant to

 28 U.S.C. § 636(b)(1)(A). See Docket No. 164.

                                       FACTS

          Mr. Stockman is charged in a second superseding indictment filed with

 the court on November 18, 2009, with the crimes of conspiracy to distribute

 cocaine (Count I), possession of cocaine with the intent to distribute (Count II),
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 and distribution of cocaine (Count III).1 See Docket No. 135. The cocaine

 conspiracy count is alleged to have been joined in by Mr. Stockman and his

 two co-defendants, Joe Bradley and Lindsey Potratz, a/k/a Nate Tchida, as

 well as other unnamed co-conspirators. The conspiracy is alleged to have

 taken place in the District of South Dakota and elsewhere. Docket No. 135.

       The time frames alleged in the indictment for the conspiracy count are

 from no later than October, 2005, through the date of the indictment. The

 distribution count, as well as the possession with intent to distribute count,

 are alleged to have taken place in August, 2008, in Rapid City, South Dakota.

 Mr. Stockman thereafter filed this motion for severance, seeking severance of

 Count I from Counts II and III, and seeking a separate trial from that of his co-

 defendants Joe Bradley and Lindsey Potratz.2 See Docket No. 144. The

 government filed a written response in resistance to Mr. Stockman’s motion.

 See Docket No. 158.




       1
        The court notes that Mr. Stockman’s memorandum in support of his
 motion to sever lists Counts II and III as two separate counts of Possession
 with Intent to Distribute, and omits the charge of Distribution of a Controlled
 Substance, as Count III of the second superseding indictment recites. See
 Docket No. 135.
       2
        Mr. Stockman argues that Counts II and II should be dismissed, and
 accordingly has filed a separate second motion for dismissal of Counts II and
 II. See Docket No. 146. For purposes of this motion, the court will treat
 Counts I, II, and III as if no motion for dismissal is pending.
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                                   DISCUSSION

 A.    Severance of the Offenses is Not Warranted

       Federal Rule of Criminal Procedure 8(a) provides as follows:

       Joinder of Offenses. The indictment or information may charge a
       defendant in separate counts with 2 or more offenses if the
       offenses charged–whether felonies or misdemeanors or both–are of
       the same or similar character, or are based on the same act or
       transaction, or are connected with or constitute parts of a common
       scheme or plan.

 See Fed. R. Crim. P. 8(a); United States v. Taken Alive, 513 F.3d 899, 902 (8th

 Cir. 2008) (quoting Fed. R. Crim. P. 8(a)). Rule 8(a) “is broadly construed in

 favor of joinder to promote the efficient administration of justice.” Id. at 902-

 903 (citing United States v. Little Dog, 398 F.3d 1032, 1037 (8th Cir. 2005);

 United States v. Rock, 282 F.3d 548, 552 (8th Cir. 2002)).

       “ ‘ “Where evidence that a defendant had committed one crime would be

 probative and thus admissible at the defendant’s separate trial for another

 crime, the defendant does not suffer any additional prejudice if the two crimes

 are tried together.” Taken Alive, 513 F.3d at 903 (quoting United States v.

 Rodgers, 732 F.2d 625, 630 (8th Cir. 1984) (quoting United States v. Dennis,

 625 F.2d 782, 802 (8th Cir. 1980)).

       In the Taken Alive case, the defendant was accused of committing one

 assault on February 9, and a second assault that resulted in the death of the

 victim on March 9. Id. at 901-02. Both assaults occurred after the defendant

 and the victims had been drinking alcohol heavily. Id. Both assaults were
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 carried out in similar fashion. Id. On appeal, the Eighth Circuit affirmed the

 district court’s decision to try Taken Alive on both assaults in the same trial.

 Id. at 902-04. Relying on Fed. R. Evid. 404(b), the court reasoned that “the

 evidence of one assault would be admissible in the separate trial of the other

 assault if admitted to prove something other than character.” Id. at 903.

 Thus, even in separate trials, each jury would inevitably know about the other

 assault. Id. Under such circumstances, there was no prejudice in trying the

 two charges together. Id.

       Here, the court reaches the same conclusion. Mr. Stockman is charged

 in Counts II with cocaine possession with intent to distribute, and in Count III

 with distribution of cocaine. Counts II and III are predicate acts for the

 conspiracy charged in Count I. Thus, a trial of Count I would almost certainly

 involve introduction of the evidence as to Counts II and III. A separate trial of

 Count II or III would involve the introduction of Stockman’s participation in the

 conspiracy charged in Count I under Rule 404(b), if not under other theories of

 admissibility. The acts charged in all three counts are of the same or similar

 character. Thus, the court concludes that they should be tried together.

 Mr. Stockman’s motion to sever Counts II and III from Count I is denied.

       B.    Severance of the Defendants is Not Warranted

       While Rule 8(a) applies to determine the propriety of the joint trial of

 several charges, Rule 8(b) applies to determine the propriety of the joinder of
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 defendants. The court has no discretion to deny severance of defendants who

 are not properly joined under Rule 8(b). See United States v. Bledsoe, 674 F.2d

 647, 654 (8th Cir.), cert. denied sub nom, 459 U.S. 1040 (1982). Misjoinder of

 defendants under Rule 8(b) is inherently prejudicial. Id. (citing United States v.

 Sanders, 563 F.2d 379, 382 (8th Cir. 1977), cert. denied, 434 U.S. 1020 (1978);

 Haggard v. United States, 369 F.2d 968, 972-973 (8th Cir. 1966), cert. denied,

 386 U.S. 1023 (1967); United States v. Marionneaux, 514 F.2d 1244, 1248 (5th

 Cir. 1975); 8 Moore’s Federal Practice ¶ 8.04(2), at 14 (2d ed. 1981)).

       The propriety of joinder under Rule 8(b) must appear on the face of the

 indictment. Bledsoe, 674 F.2d at 655; Sanders, 563 F.2d at 382. The factual

 allegations in the indictment should be accepted as true, except where the facts

 alleged in the indictment show multiple conspiracies rather than a single

 conspiracy. United States v. Massa, 740 F.2d 629, 644 (8th Cir. 1984)

 (overruled on other grounds) (citing United States v. Zicree, 605 F.2d 1381,

 1387 (5th Cir. 1979) (internal citations omitted)). The prerequisites for joinder

 of defendants under Rule 8(b) are to be liberally construed in favor of the

 defendant. Bledsoe, 674 F.2d at 655.

        In this matter, the propriety of joinder of the defendants under Rule 8(b)

 seems beyond question. “Rule 8(b) requires that there be some common

 activity involving all of the defendants which embraces all the charged offenses

 even though every defendant need not have participated in or be charged with
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 each offense.” Bledsoe, 674 F.2d at 656. “In order to be part of the ‘same

 series of acts or transactions,’ acts must be part of one overall scheme about

 which all joined defendants knew and in which they all participated.” Id.

 (citing United States v. McKuin, 434 F.2d 391, 395-96 (8th Cir. 1970), cert.

 denied, 401 U.S. 911 (1971)). “Although a conspiracy count is not always

 essential for joinder of counts which do not all include every joined defendant,

 in the absence of such an allegation, other facts must be alleged which at least

 suggest the existence of an overall scheme encompassing all the defendants

 and all the charged offenses.” Bledsoe, 674 F.2d at 656-57. The “same series

 of acts or transactions” language of Rule 8(b) requires some common activity,

 but there is no requirement that each defendant must have participated in

 each act or transaction within that series of events. United States v. Finn, 919

 F.Supp. 1305, 1323 (8th Cir. 1995); United States v. Andrade, 788 F.2d 521,

 529 (8th Cir. 1986), cert. denied, 479 U.S. 963, 107 S.Ct. 462, 93 L.Ed.2d 408

 (1986).

       Here, Mr. Stockman asserts there is no common thread, activity, or

 nexus tying the counts with which he alone is charged (Counts II and III) to the

 counts with which only his co-defendants are charged (Counts IV through IX).

 Docket No. 145, at 4-6. However, the face of the indictment reveals a basis for

 joinder. See Andrade, 788 F.2d at 529. Mr. Stockman is joined with co-

 defendants Bradley and Potratz in a single count of conspiracy. Docket No.
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 135, Count I. In furtherance of the conspiracy, Mr. Stockman is charged with

 possession with intent to distribute cocaine and distribution of cocaine. Id.,

 Counts II-III. In furtherance of the conspiracy, Mr. Bradley is charged with

 distribution of cocaine, and money laundering. Id., Counts IV, VII. In

 furtherance of the conspiracy, Mr. Potratz is charged with distribution of

 cocaine, and four counts of money laundering. Id., Counts V, VI-IX. These

 allegations are sufficient to support the charge that the defendants participated

 “in the same series of acts or transactions constituting an offense or offenses”

 so that joinder of the three co-defendants is proper. Fed. R. Crim. P. 8(b); see

 also United States v. Houston, 892 F.2d 696 (8th Cir. 1989) (joinder proper

 where indictment charged all defendants with participation in a single

 conspiracy and also charged the defendants separately with various

 substantive counts arising from that conspiracy).

       Mr. Stockman presents what the court presumes to be a factual

 impossibility defense, in that he was incarcerated between November 1999 and

 May 2006. “Factual impossibility refers to those situations in which a

 circumstance or conditions, unknown to the defendant, renders physically

 impossible the consummation of his intended criminal conduct.” United States

 v. Collins, 340 F.3d 672, 682 (8th Cir. 2003).

       Here, however, Mr. Stockman’s periods of incarceration do not render his

 participation in the conspiracy, which began no later than October 2005,
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 “factually impossible.” Mr. Stockman is charged with committing substantive

 acts in furtherance of the conspiracy in August, 2008. Mr. Stockman makes

 no argument (nor could he make such argument) that he was in state custody

 in August, 2008. See Docket No. 145-2. Messrs. Bradley and Potratz carried

 out their respective substantive acts in furtherance of the conspiracy at various

 other times in 2007 and 2008. The second superseding indictment’s inclusion

 of months during which Mr. Stockman was incarcerated does not defeat the

 inclusion of months in which he was not incarcerated. See Collins, 340 F.3d

 at 682.

       C.    Severance is Improper under Fed. R. Crim. P. 14

       Even if joinder of two or more defendants is proper under Rule 8(b), the

 court may sever the defendants’ trials under Fed. R. Crim. P. 14 if joinder of

 the defendants appears to prejudice a defendant or the government. United

 States v. Davis, 534 F.3d 903, 916 (8th Cir. 2008). The fact that a defendant is

 alleged to have played a small role in the overall scheme or conspiracy is not

 dispositive of whether severance should be granted. United States v. Anthony,

 565 F.2d 533, 538 (8th Cir. 1977).

       Once it is determined that defendants are properly joined under Rule

 8(b), “[t]he presumption against severing properly joined cases is strong.”

 United States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005). “Under Fed. R. Crim.

 P. 14(a), the issue of severance is entrusted to the sound discretion of the trial
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 judge.” United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006) (internal

 quotation omitted). A defendant who seeks severance under Rule 14 must

 show “real prejudice.” Davis, 534 F.3d at 916. “Real prejudice” consists in

 showing (1) that the moving defendant’s defense “is irreconcilable with that of

 his co-defendant or (2) the jury will be unable to compartmentalize the evidence

 as it relates to the separate defendants.” Id. at 916-17 (quoting United States

 v. Mickelson, 378 F.3d 810, 817-18 (8th Cir. 2004)).

       “Severance is not required merely because evidence that is admissible

 only against some defendants may be damaging to others, . . .” Mickelson, 378

 F.3d at 818. “Nor is it enough for a defendant to claim, . . . that he needed a

 separate trial in order to call a co-defendant as a witness. He must show that

 it is likely his co-defendant actually would have testified and that this

 testimony would have been exculpatory.” Id. (citing United States v. Delpit, 94

 F.3d 1134, 1143-44 (8th Cir. 1996)). “Generally, the risk that a joint trial will

 prejudice one or more of the defendants ‘is best cured by careful and thorough

 jury instructions.’ ” Davis, 534 F.3d at 916-17 (quoting Mickelson, 378 F.3d at

 818; and citing Zafiro, 506 U.S. at 537).

       In United States v. Jones, 880 F.2d 55 (8th Cir. 1989), the Eighth Circuit

 decided the propriety of a joint trial of multiple defendants who were all

 charged with participating in the same drug distribution conspiracy. Id. at 62.

 The court, citing the proposition that co-conspirators should in the usual case
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  be tried together, held that no error had occurred. Id. at 62-64. Specifically,

  the court found that joinder under Rule 8(b) was proper, and that defendants

  had not successfully shown that any real prejudice occurred due to being tried

  together. Id.

        Here, Mr. Stockman argues that the risk of undue prejudice is increased

  because evidence introduced at trial as to each individual incident taints the

  others. Docket No. 145, at 7. As stated previously, however, severance is not

  required where evidence admissible as to one defendant may damage another

  defendant. See Mickelson, 378 F.3d at 818. Next, Mr. Stockman speculates

  that a jury “may also improperly cumulate the evidence of various crimes” and

  improperly convict him where it would not convict if the charges were

  considered separately. Id. Mr. Stockman fails to address why careful limiting

  instructions would not enable the jury to compartmentalize the evidence as it

  relates to the separate defendants. See Davis, 534 F.3d at 916-17. Moerover,

  “ ‘a claim of potential prejudice is not enough to prevail on this issue.’ ” United

  States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (quoting United States v.

  Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)).

        Finally, Mr. Stockman states that he may wish to assert his Fifth

  Amendment privilege not to testify as to one count, but may wish to testify as

  to the other charges, and so the presence of his co-defendants prejudices his

  Fifth Amendment right to remain silent. Id. However, Mr. Stockman fails to
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  make the required showing for severance on this ground. The Eighth Circuit

  has held that to sever co-defendants on grounds of the Fifth Amendment right

  to remain silent, the defendant must make a “persuasive and detailed showing

  regarding the testimony he would give on the one count he wishes severed and

  the reason he cannot testify on the other counts.” Closs v. Leapley, 18 F.3d

  574, 578 (8th Cir. 1994)(quoting United States v. Possick, 849 F.2d 332, 338

  (8th Cir. 1988)).

        For the foregoing reasons, the court finds that he has failed to carry his

  “heavy burden” of demonstrating that severance is necessary under Rule 14

  because he cannot otherwise obtain a fair trial. Warfield, 97 F.3d at 1019.

  Accordingly, Mr. Stockman’s motion to sever his trial from that of his co-

  defendants Joe Bradley and Lindsey Potratz, a/k/a Nate Tchida, is denied.

        D.     Severance Under Bruton is not Warranted at this Time

        Mr. Stockman states that although he is unaware whether the

  government has or intends to use a statement of one of his (non-testifying) co-

  defendants against him at trial, he reserves his right to move for severance on

  this ground pursuant to the Sixth Amendment and United States v. Bruton,

  391 U.S. 123, 137 (1968) (holding that admission at joint trial of a statement

  given by a non-testifying co-defendant, which statement incriminates

  defendant, constitutes prejudicial error that cannot be cured with limiting jury

  instructions). This argument is grounded in speculation as Mr. Stockman
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  identifies no such out-of-court statements by co-defendants Bradley or Potratz.

  Accordingly, the court denies this argument as moot. Mr. Stockman may

  renew the motion if and when a concrete Bruton issue can be identified.

                                        CONCLUSION

        Good cause appearing, it is hereby

        ORDERED that Ben Stockman’s second motion to sever charges and co-

  defendants [Docket No. 144] is denied.

                           NOTICE OF RIGHT TO APPEAL

        Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

  of this order before the district court upon a showing that the order is clearly

  erroneous or contrary to law. The parties have fourteen (14) days after service

  of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1), unless

  an extension of time for good cause is obtained. See Fed. R. Crim. P. 58(g)(2).

  Failure to file timely objections will result in the waiver of the right to appeal

  questions of fact. Objections must be timely and specific in order to require

  review by the district court.

        Dated January 6, 2009.

                                  BY THE COURT:


                                  /s/   Veronica L. Duffy
                                  VERONICA L. DUFFY
                                  UNITED STATES MAGISTRATE JUDGE
